            Case 1:19-cv-01409-LJL Document 29 Filed 11/05/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X
LUIS POLANOC,
                                    Plaintiff,                             19 CIVIL 1409 (LJL)

                 -against-                                                    JUDGMENT

UNITED STATES,
                                    Defendant.
------------------------------------------------------------X


        It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

set forth in the Court’s Findings of Fact and Conclusions of Law dated November 5, 2020,

Judgment is entered for Defendant, and the case is closed.

DATED: New York, New York
       November 5, 2020




                                                                         RUBY J. KRAJICK
                                                                     _________________________
                                                                           Clerk of Court


                                                                BY: _________________________
                                                                          Deputy Clerk
